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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

JODY ELLIOTT,
PLAINTIFF
VS. C.A.No 1:18-cv-11320 (DLC)
ATTORNEY TERRENCE KENNEDY,
LIEUTENANT GOVERNOR KARYN POLITO,

MASSACHUSETTS GOVERNORS COUNCIL,
AND GOVERNOR CHARLES BAKER,

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DEFENDANTS

DEFENDANT TERRENCE KENNEDY’S MOTION TO DISMISS

Now comes the defendant Terrence Kennedy and pursuant to Federal Rules of
Civil Procedure, Rule 12(b)(1) and Rule 12(b)(6) requestes that this Honorable Court
dismiss all claims against Terrence Kennedy.

As grounds for this motion, defendant states that the plaintiff's complaint fails to
establish that this Court has jurisdiction and also fails to state any recognizable claims
upon which relief can be granted. Plaintiff’s claims based upon the defendant’s actions in
representing a client are privileged and cannot form the basis for a claim. Furthermore,
Plaintiffs claims are barred by the applicable Statute of Limitations.

In support of this motion, defendant relies upon his attached Memorandum of
Law in support of Motion to Dismiss.

Respectfully submitted,
The Defendant, Terrence Kennedy,
By his attorney,

/s/ Peter V. Bellotti

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Dated: August 9, 2018
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CERTIFICATE OF SERVICE

I, Peter V. Bellotti, Attorney for Terrence Kennedy, hereby certify that I have this day, August 9,
2018 served the foregoing Motion to Dismiss and Memorandum of Law in Support of Motion to
Dismiss. Upon all parties, by electronically filing to all ECF registered parties and by sending a
copy, first class mail, postage paid to all unregistered parties.

/s/ Peter V. Bellotti

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